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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


    KATHLEEN M. KELLER and                                    Court File No. ______________
    CRYSTAL SMITH, individually and on
    behalf of others similarly situated,
                                                                CLASS ACTION
                          Plaintiffs,                            COMPLAINT
    v.

    NORTH MEMORIAL HEALTH
    CARE, THE BOARD OF DIRECTORS
    OF NORTH MEMORIAL HEALTH
    CARE, and JOHN DOES 1–25,

                          Defendants.


         Plaintiffs Kathleen M. Keller and Crystal Smith (“Plaintiffs”), by and through

their attorneys, on behalf of the North Memorial Health 401(k) Plan (the “Plan”)1,

themselves, and all others similarly situated, states and alleges as follows:

         1.        This is a putative class action brought pursuant to §§ 409 and 502 of the

Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and

1132, against the Plan’s fiduciaries, which include North Memorial Health Care (“North

Memorial” or “Company”) and the Board of Directors of North Memorial Health Care

and its members during the Class Period (“Board”) for breaches of their fiduciary duties.




1
  The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C.
§ 1132(d)(1). However, in a breach of fiduciary duty action such as this, the Plan is not a
party. Rather, pursuant to ERISA § 409, and the law interpreting it, the relief requested
in this action is for the benefit of the Plan and its participants.
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       2.        ERISA imposes strict fiduciary duties of loyalty and prudence upon

employers and other plan fiduciaries to further the public policy of safeguarding Plan

assets and protecting participants’ retirement investments. Fiduciaries must act “solely

in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the

“care, skill, prudence, and diligence” that would be expected in managing a plan of

similar scope. 29 U.S.C. § 1104(a)(1)(B). These dual fiduciary duties are “the highest

known to the law.” Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 595 (8th Cir. 2009)

(quoting Donovan v. Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir. 1982)).

       3.        The United States Department of Labor mandates that employers are held

to a “high standard of care and diligence” and must, among other duties, both “establish

a prudent process for selecting investment options and service providers” and “monitor

investment options and service providers once selected to see that they continue to be

appropriate choices.” See U.S. Dep’t of Labor: Emp. Benefits Sec. Admin., A Look at

401(k) Plan Fees 2 (Sept. 2019), available at

https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-

center/publications/a-look-at-401k-plan-fees.pdf (last visited May 11, 2022) (“You

should know that your employer also must consider the fees and expenses paid by your

plan.”); see also Tibble v. Edison Int’l (Tibble I), 575 U.S. 523, 530 (2015) (affirming

the ongoing fiduciary duty to monitor a plan’s investment options).

       4.        Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must consider the cost of

investment options. “Wasting beneficiaries’ money is imprudent. In devising and

implementing strategies for the investment and management of trust assets, trustees are


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obligated to minimize costs.” Unif. Prudent Inv’r Act § 7 cmt. (Unif. Law Comm’n

1994) [hereinafter “UPIA”] (incorporating Forward to Restatement (Third) of Trusts:

Prudent Investor Rule (1992)). “The Restatement … instructs that ‘cost-conscious

management is fundamental to prudence in the investment function,’ and should be

applied ‘not only in making investments but also in monitoring and reviewing

investments.’” Tibble v. Edison Int’l (Tibble II), 843 F.3d 1187, 1197–98 (9th Cir. 2016)

(en banc) (quoting Restatement (Third) of Trusts § 90, cmt. b).

       5.       Additional fees of fractions of a percent can have a large effect on a

participant’s investment results over time because “[b]eneficiaries subject to higher fees

… lose not only money spent on higher fees, but also lost investment opportunity; that

is, the money that the portion of their investment spent on unnecessary fees would have

earned over time.” Tibble II, 843 F.3d at 1198 (“It is beyond dispute that the higher the

fees charged to a beneficiary, the more the beneficiary’s investment shrinks.”).

       6.        The Supreme Court recently reiterated that interpreting “ERISA’s duty

of prudence in light of the common law of trusts” a fiduciary “has a continuing duty of

some kind to monitor investments and remove imprudent ones” and a plaintiff may

allege that a fiduciary breached the duty of prudence by failing to properly monitor

investments and remove imprudent ones. Hughes v. Northwestern Univ., 142 S. Ct. 737,

739 (2022).

       7.        Prudent and impartial plan sponsors thus should be monitoring both the

performance and cost of the investments selected for their retirement plans, as well as




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investigating alternatives in the marketplace to ensure that well-performing, low-cost

investment options are being made available to plan participants.

          8.        North Memorial sponsors one plan that is subject to ERISA’s fiduciary

duties.

          9.       The 401(k) Plan is a defined contribution plan, effective January 1, 1999,

and amended and restated throughout the years. All eligible employees of North

Memorial may enter the Plan on the first day of the month following the date on which

the employee has completed 30 days of service. The Plan was amended after its

establishment to allow certain union employees to participate. At all times during the

Class Period, the 401(k) Plan had at least $286 million dollars in assets under

management. At the Plan’s fiscal year end in 2020, the 401(k) Plan had over $465

million in net assets under management that were or are entrusted to the care of the

Plan’s fiduciaries.

          10.      As a large plan, the Plan had substantial bargaining power regarding the

fees and expenses that were charged against participants’ investments. Defendants,

however, did not try to reduce the Plan’s expenses or exercise appropriate judgment to

scrutinize each investment option that was offered in the Plan to ensure it was prudent.

          11.      Plaintiffs allege that, during the putative Class Period, Defendants, as

“fiduciaries” of the Plan, as that term is defined under ERISA § 3(21)(A), 29 U.S.C.

§ 1002(21)(A), breached the duties they owed to the Plan, to Plaintiffs, and to the other

participants of the Plan by, inter alia, (1) failing to objectively and adequately review the

Plan’s investment portfolio with due care to ensure that each investment option was


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prudent, in terms of cost; (2) maintaining certain funds in the Plan despite the

availability of identical or similar investment options with lower costs and/or better

performance histories; and (3) failing to control the Plan’s recordkeeping costs.

       12.      Defendants’ mismanagement of the Plan, to the detriment of participants

and beneficiaries, constitutes a breach of the fiduciary duty of prudence, in violation of

29 U.S.C. § 1104. Their actions were contrary to actions of a reasonable fiduciary and

cost the Plan and its participants millions of dollars.

       13.     Based on this conduct, Plaintiff assert claims against Defendants for

breach of the fiduciary duties of loyalty and prudence.

                                          PARTIES

     I.       Plaintiffs

       14.     Plaintiff, Kathleen M. Keller (“Keller”), resides in Circle Pines,

Minnesota. During her employment, Plaintiff Keller participated in the 401(k) Plan,

investing in the options offered by the Plan which is the subject of this lawsuit.

       15.     Plaintiff, Crystal Smith (“Smith”), resides in Bloomington, Minnesota.

During her employment, Plaintiff Smith participated in the 401(k) Plan, investing in the

options offered by the Plain which is the subject of this lawsuit.

       16.     Plaintiffs have standing to bring this action on behalf of the Plan because

they participated in the Plan and were injured by Defendants’ unlawful conduct.

Plaintiffs are entitled to receive benefits in the amount of the difference between the

value of their accounts currently, or as of the time their accounts were distributed, and




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what their accounts are or would have been worth, but for Defendants’ breaches of

fiduciary duty as described herein.

       17.     Plaintiffs did not have knowledge of all material facts (including, among

other things, the investment alternatives that are comparable to the investments offered

within the Plan, comparisons of the costs and investment performance of Plan

investments versus available alternatives within similarly-sized plans, total cost

comparisons to similarly-sized plans, information regarding other available share

classes) necessary to understand that Defendants breached their fiduciary duties and

engaged in other unlawful conduct in violation of ERISA until shortly before this suit

was filed.

    II.       Defendants

       A.     Employer Defendant
       18.     North Memorial is the sponsor and a named fiduciary of the Plan with a

principal place of business being 3300 Oakdale Avenue North, Robbinsdale, Minnesota

55422. See North Memorial Health Care 401(k) Plan, Annual Return/Report of

Employee Benefit Plan (“2020 Form 5500”) at 1.

       19.     North Memorial determines the appropriateness of the Plan’s investment

offerings and monitors investment performance. North Memorial fell well short of these

fiduciary standards.

       20.     Accordingly, during the putative Class Period, North Memorial is and

was a fiduciary of the Plan, within the meaning of ERISA Section 3(21)(A), 29 U.S.C.




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§ 1002(21)(A) because it exercised discretionary authority over management or

disposition of Plan.

       21.     For the foregoing reasons, the Company is a fiduciary of the Plan, within

the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

       B.     Board Defendants
       22.     North Memorial, acting through its Board of Directors, determines the

appropriateness of the Plan’s investment offerings and monitors investment

performance. As will be discussed below, the Board fell well short of these fiduciary

standards.

       23.     The Board during the putative Class Period is and was a fiduciary of the

Plan, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A),

because, upon information and belief, it exercised discretionary authority over

management or disposition of Plan assets.

       24.     Accordingly, each member of the Board during the putative Class Period

(referred to herein as John Does 1–25) is/was a fiduciary of the Plan, within the meaning

of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because each exercised

discretionary authority over management or disposition of Plan assets.

       25.     The Board and the unnamed members of the Board during the Class

Period, are collectively referred to herein as the “Board Defendants.”




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       C.     Additional John Doe Defendants
       26.      To the extent that there are additional officers, employees and/or

contractors of North Memorial who are/were fiduciaries of the Plan during the Class

Period or were hired as an investment manager for the Plan during the Class Period, the

identities of whom are currently unknown to Plaintiff, Plaintiff reserves the right, once

their identities are ascertained, to seek leave to join them to the instant action. Thus,

without limitation, unknown “John Doe” Defendants 1–40 include, but are not limited

to, North Memorial officers, employees, and/or contractors who are/were fiduciaries of

the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A)

during the Class Period.

                               JURISDICTION & VENUE

       27.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because it is a civil action arising under the laws of the United States, and

pursuant to 29 U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions

brought under Title I of ERISA, 29 U.S.C. § 1001, et seq.

       28.     This Court has personal jurisdiction over Defendants because they transact

business in this District, reside in this District, and/or have significant contacts with this

District, and because ERISA provides for nationwide service of process.

       29.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District

pursuant to 28 U.S.C. § 1391 because Defendants do business in this District and a



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substantial part of the events or omissions giving rise to the claims asserted herein

occurred within this District.
                                            FACTS

   III.         The Plan

          30.   North Memorial established the Plan to provide retirement income

benefits to its employees and to provide such Employees with an opportunity to

accumulate retirement savings on a tax deferred basis. The Plan has been hindered in

fulfilling its purpose by the fiduciary breaches of both North Memorial and the Board.

          31.   The Plan is a “defined contribution” or “individual account” plan within

the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for

individual accounts for each participant and for benefits based solely upon the amount

contributed to those accounts, and any income, expense, gains and losses, and any

forfeitures of accounts of the participants which may be allocated to such participant’s

account. Consequently, retirement benefits provided by the Plan are based solely on the

amounts allocated to each individual’s account.

          32.   In general, all eligible employees are able to participate in the Plan on the

first day of the month following the date on which the employee has completed 30 days

of service. See North Memorial Health Care, Annual Returns/Reports of Employee

Benefit Plan (Form 5500) supp. at 5 (Sept. 29, 2021) [hereinafter the “2020 401(k)

Auditor Report”]. The 2020 401(k) Auditor Report provides that the Plan is a defined

contribution plan sponsored by North Memorial, covering substantially all employees of

the Company and participating employers.


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       33.    There are several types of contributions that could be added to a

participant’s 401(k) account including: a pre-tax employee salary deferral contribution,

catch-up contributions for employees aged 50 and over, rollover contributions, and

employer matching contributions based on contributions. With regard to employee

contributions, eligible participants are permitted to elect to have a percentage of their

compensation contributed as pre-tax 401(k) contributions or Roth deferral contributions

to the Plan. Eligible new employees who fail to make a deferral election will be

automatically enrolled to have their compensation reduced by 6% as a pre-tax

contribution. Participants are allowed to change the automatic enrollment and elect a

different percentage. Participants who have attained age 50 before the end of the Plan

year are eligible to make catch-up contributions. Id.

       34.    North Memorial made and will make a matching contribution to all

eligible participants. The employer matching contribution is equal to 100% of the

participant’s contribution, limited to the first 3% of compensation deferred and 50% of

the participant’s contribution from 3% to 5% of compensation deferred. Id.

       35.    Like other companies that sponsor 401(k) plans for their employees, North

Memorial enjoys both direct and indirect benefits by providing matching contributions

to Plan participants. Employers are generally permitted to take tax deductions for their

contributions to 401(k) plans at the time when the contributions are made. See generally

401(k) Plan Overview, I.R.S., https:/www.irs.gov/retirement- plans/plan-sponsor/401k-

plan-overview (last updated Nov. 15, 2021).




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         36.   North Memorial also benefits in other ways from the Plan’s matching

program. It is well- known that “[o]ffering retirement plans can help in employers’

efforts to attract new employees and reduce turnover.” See Employer Benefits of 401(k)

Plans, PAYCHEX (July 6, 2021), https://www.paychex.com/articles/employee-

benefits/employer- matching-401k-benefits.

         37.   Given the size of the Plan, North Memorial likely enjoyed a significant tax

and cost savings from offering a match.

         38.    In theory, North Memorial determines the appropriateness of the Plan’s

investment offerings and monitors investment performance. North Memorial and the Board

fell well short of their fiduciary obligations in this regard.

         39.    Several funds were available to Plan participants for investment each year

during the putative Class Period. Specifically, a participant must direct all contributions

to selected investments as made available and determined by North Memorial or the

Board.

         40.    During the Class Period, administrative expenses were paid using the

Plan’s assets. As described in the Auditor Report: “Administrative expenses of the Plan

are paid by the Plan, as provided in the Plan document. Participants pay administrative

costs for loans distributions and qualified domestic relation orders. All investment

management and transaction fees directly related to the Plan investments are paid by the

participants and charged against the Plan’s earnings.” 2020 401(k) Auditor Report at 6.

         41.    Transamerica Corporation (“Transamerica”) was the recordkeeper for the

Plan for five of the six years of the Class Period.


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       42.     The SEC has, on several occasions, imposed remedial sanctions and cease-

and-desist orders on Transamerica for its conduct that violated federal law.

       43.     According to the SEC, Transamerica made material misstatements of fact

to investors and potential investors, engaged in business practices which operated as a

fraud or deceit upon clients or prospective clients, failed to reasonably supervise the

variable annuity recommendations its agents were making, and failed to reasonably

supervise the 529 plan share-class recommendations that its agents were making, among

other violations. See Transamerica Asset Management, Inc., Investment Advisers Act

Release No. 5599 (Sept. 30, 2020); Transamerica Asset Management, Inc., Investment

Company Act Release No. 34035 (September 30, 2020); Transamerica Financial

Advisors, Inc., Investment Advisors Act Release No. 5150 (March 11, 2019);

Transamerica Financial Advisors Inc., Securities Exchange Act No. 71850 (April 3,

2014); Transamerica Financial Advisors, Inc., Investment Advisers Act Release No. 3808

(April 3, 2014).

   IV. The Plan’s Fees Were Unreasonable

       A.     The Plan Fiduciaries Failed to Administer the Plan in a Prudent
              Manner.

       44.      As described in the “Parties” section above, Defendants were

fiduciaries of the Plan.

       45.     ERISA “imposes a ‘prudent person’ standard by which to measure

fiduciaries’ investment decisions and disposition of assets.” Fifth Third Bancorp v.

Dudenhoeffer, 134 S. Ct. 2459, 2467 (2014) (quotation omitted). In addition to a duty to



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select prudent investments, under ERISA, a fiduciary “has a continuing duty to monitor

[plan] investments and remove imprudent ones” that exists “separate and apart from the

[fiduciary’s] duty to exercise prudence in selecting investments.” Tibble I, 575 U.S. at

529.

       46.     Plaintiffs did not have and does not have actual knowledge of the

specifics of Defendants’ decision-making process with respect to the Plan, including

Defendants’ processes (and execution of such) for selecting, monitoring, and removing

Plan investments, because this information is solely within the possession of Defendants

prior to discovery. See Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir.

2009) (“If Plaintiffs cannot state a claim without pleading facts which tend

systematically to be in the sole possession of defendants, the remedial scheme of

[ERISA] will fail, and the crucial rights secured by ERISA will suffer.”) For purposes of

this Complaint, Plaintiff has drawn reasonable inferences regarding these processes

based upon the numerous factors set forth below.

       47.     Defendants’ breaches of their fiduciary duties, relating to their overall

decision-making, resulted in inter alia, the selection (and maintenance) of several funds

in the Plan throughout the Class Period, including those identified below, that wasted

the assets of the Plan and the assets of participants because of unnecessary costs.

       48.      Another indication of Defendants’ failure to prudently monitor the Plan’s

funds is that several funds during the Class Period were more expensive than

comparable funds found in similarly sized plans (conservatively, plans having between

250 million dollars and 500 million dollars in assets).


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       49.     In January 2012, the Department of Labor (“DOL”) issued a final

regulation under Section 408(b)(2) of ERISA which requires a “covered service provider”

to provide the responsible plan fiduciary with certain disclosures concerning fees and

services provided to certain of their ERISA governed plans. This regulation is

commonly known as the service provider fee disclosure rule, often referred to as the

“408(b)(2) Regulation.”10

       50.     The required disclosures must be furnished in advance of a plan fiduciary

entering into or extending a contract or arrangement for covered services. The DOL has

said that having this information will permit a plan fiduciary to make a more informed

decision on whether to enter or extend such contract or arrangement.

       51.     As stated by the DOL, ERISA “requires plan fiduciaries, when selecting

and monitoring service providers and plan investments, to act prudently and solely in the

interest of the plan’s participants and beneficiaries. Responsible plan fiduciaries also

must ensure that arrangements with their service providers are ‘reasonable’ and that only

‘reasonable’ compensation is paid for services. Fundamental to the ability of fiduciaries

to discharge these obligations is obtaining information sufficient to enable them to make

informed decisions about an employee benefit plan’s services, the costs of such services,

and the service providers.” Fact Sheet: Final Regulation Relating to Service Provider

Disclosures Under Section 408(b)(2), Dep’t of Labor: Empl. Benefits Sec. Admin. at 1

(Feb. 2012) [hereinafter “DOL 408(b)(2) Regulation Fact Sheet”],

https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-

center/fact-sheets/final-regulation-service-provider-disclosures-under-408b2.pdf.


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       B.      Several of the Plan’s Funds Were Not in the Lowest Fee Share
               Class Available to the Plan.

       52.      Many mutual funds offer multiple classes of shares in a single mutual

fund that are targeted at different investors. There is no difference between share classes

other than cost—the funds hold identical investments and have the same manager.

       53.      A prudent fiduciary would immediately know to use the lowest cost

available share class in a plan.

       54.      Generally, more expensive share classes are targeted at smaller investors

with less bargaining power, while lower cost shares are targeted at institutional investors

with more assets. Qualifying for lower share classes usually requires only a minimum of

one million dollars for individual funds. However, it is common knowledge that

investment minimums are often waived for large plans like the Plan. See, e.g., Davis et

al. v. Washington Univ. et al., 960 F.3d 478, 483 (8th Cir. 2020) (“minimum investment

requirements are ‘routinely waived’ for individual investors in large retirement-savings

plans”); Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 329 (3d Cir. 2019) (citing Tibble

II, 729 F.3d at 1137 n.24) (confirming that investment minimums are typically waived

for large plans).

       55.      Simply put, a fiduciary to a large defined contribution plan such as the

Plan can use their asset size and negotiating power to invest in the cheapest share class

available.

       56.      The total assets under management for all of these funds was over 460

million dollars, thus easily qualifying them for lower share classes. For illustration, the



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following chart provides detail some of the funds with lower share classes available to

the fund:

                                                     Less
                                Plan                 Expensive    Lower
                                Share    Expense     Share        Expense       Excess
 Fund in the Plan               Class    Ratio       Class        Ratio         Cost
 Goldman Sachs Small Cap
 Value                          GSSIX    0.99        GSYPX        0.95          0.04
 J. Hancock Disciplined Value
 Mid Cap                        JVMIX    0.87        JVMRX        0.75          0.12
 Loomis Sayle Small Cap
 Growth                         LSSIX    0.92        LSSNX        0.82          0.1
 American Funds Europacific
 Growth                         RERHX    0.62        RERGX        0.46          0.16
 Amg Timessquare Mid Cap
 Growth                         TMDPX    1.18        TMDIX        0.98          0.2
 Western Asset Core Plus
 Bond                           WACPX    0.52        WAPSX        0.42          0.1
 T. Rowe Price International
 Discovery                      PRIDX    1.18        TIDDX        1.06          0.12


       57.      At all times during the Class Period, Defendants knew or should have

known of the existence of identical less expensive share classes and therefore also

should have immediately identified the prudence of transferring the Plan’s funds into

these alternative investments.

       58.      There is no good-faith explanation for utilizing high-cost share classes

when lower-cost share classes are available for the exact same investment. Because the

more expensive share classes chosen by Defendants were the same in every respect

other than price to their less expensive counterparts, the more expensive share class

funds could not have (1) a potential for higher return, (2) lower financial risk, (3) more

services offered, (4) or greater management flexibility. In short, the Plan did not receive

any additional services or benefits based on its use of more expensive share classes; the



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only consequence was higher costs and lower year-over-year returns for Plan

participants.

       59.      Indeed, “[b]ecause the institutional share classes are otherwise identical

to the Investor share classes, but with lower fees, a prudent fiduciary would know

immediately that a switch is necessary. Thus, the ‘manner that is reasonable and

appropriate to the particular investment action, and strategies involved … in this case

would mandate a prudent fiduciary—who indisputably has knowledge of institutional

share classes and that such share classes provide identical investments at lower costs—to

switch share classes immediately.” Tibble, et al. v. Edison Int. et al., No. 07-5359, 2017

WL 3523737, at *13 (C.D. Cal. Aug. 16, 2017).

       60.      Here, had the Plan’s fiduciaries prudently undertaken their fiduciary

responsibility for determining the appropriateness of the Plan’s investment offerings and

monitoring investment performance, the Plan would have moved to the identical lower

cost share class of the identical fund.

       61.      In fact, had the Plan’s fiduciaries undertaken their fiduciary

responsibility, they would have learned that the Securities and Exchange Commission

filed charges against JP Morgan Securities LLC—the provider of the Plan’s target date

funds—alleging that it failed to provide certain customers with sales charge waivers and

lower fee share classes when selling certain mutual funds to them. See J.P. Morgan Secs.

LLC, Securities Act Release No. 10741, Exchange Act Release No. 87919, Investment

Advisers Act Release No. 5429, 2020 WL 108470 (Jan. 9, 2020); see also SEC Charges

J.P. Morgan Securities for Disclosure Failures Related to Retirement and Charitable


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Customers, U.S. Secs. & Exchange Comm’n (Jan. 9, 2020),

https://www.sec.gov/enforce/33-10741-s. Despite the public nature of the charges, the

SEC Order finding JPMS violated the Securities Act of 1933, and subsequent

settlement, Defendants failed to move the Plan’s assets to the identical lower cost share

classes.


       C.       Many of the Plan’s Funds Charged Excessive Management Fees.

       62.      Investment options have a fee for investment management and other

services. Like any other investor, retirement plan participants pay for these costs via the

fund’s expense ratio stated as a percentage of assets invested in the fund. For example,

an expense ratio of 0.75% means that the plan participant will pay $7.50 in management

fees annually for every $1,000 in assets.

       63.      The expense ratio reduces the participant’s return and the compounding

effect of that return because it is paid out of the assets invested in the plan. Expense

ratios in retirement accounts are particularly undesirable because the fees are paid using

tax advantaged money. Therefore, it is prudent for a plan fiduciary to consider the effect

that expense ratios have on investment returns because it is in the best interest of

participants to do so.

       64.      For purposes of evaluating expense ratios of an investment, plan

fiduciaries should obtain competitive pricing information (i.e., fees charged by other

comparable investment funds to similarly situated plans). This type of information can




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be obtained through mutual fund data services, such as Morningstar, or with the

assistance of the plan’s expert consultant.

       65.      F or comparator information to be relevant for fiduciary purposes, it must

be consistent with the size of the plan and its relative bargaining power. Large plans, for

instance, are able to qualify for lower fees on a per participant basis, and comparators

should reflect this fact.

       66.      Here, the Defendants could not have engaged in a prudent process as it

relates to evaluating investment management fees.

       D.       Several of the Funds in the Plan had Lower Cost Better Performing
                Alternatives in the Same Investment Style.

       67.      The Plan failed to replace several of the higher cost and underperforming

funds which in 2020 housed over 460 million dollars in participant assets. These funds

had nearly identical lower cost alternatives during the Class Period. These funds are

what’s known as actively managed funds. An actively managed investment fund is a

fund in which a manager or a management team makes decisions about how to invest

the fund’s money. Thus, the success or failure of an actively managed fund is linked

directly to the abilities of the managers involved, this an additional risk factor called

management risk.

       68.       Here, the performance of the managers of these funds fell well short of

acceptable industry standards and they should have been replaced at the beginning of the

Class Period or sooner. Failure to do so cost the Plan and its participants millions of

dollars in lost opportunity and revenue.



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       69.          There were, at least, hundreds of superior performing less expensive

alternatives available during the Class Period one of which should have been selected by

the Plan.

       70.          The chart below choses one of these superior performing alternatives out

of the many available for each fund and compares them to some of the underperforming

funds currently in the Plan on a 5-year annualized basis:

                              Plan                                                    Excessive
                              Fund                                      Alternative   Fees Per
 Fund in the Plan             Fees   Alternative Fund                   Fees          Year
 Dodge & Cox Balanced         0.53   American Funds Balance R6           0.26%          0.27
 Dodge & Cox
 International Stock          0.63   Fidelity International Index        0.04%          0.59
 Goldman Sachs Small
 Cap Value Instl              0.99   Vanguard Small Cap Index I          0.04%          0.95
 JHancock Disciplined                Vanguard Mid Cap Index
 Value Mid Cap I              0.87   Institutional                       0.04%          0.83
 American Funds
 Europacific Growth R5E       0.62   Vanguard Intl Div Apprec Idx Adm    0.20%          0.42


       71.          Not only are the fees excessive as compared to the similar lower cost

alternatives discussed above but the suggested alternative funds outperformed all of the

funds significantly. The difference between the excessive fees paid for these

underperforming funds and the suggested alternatives represent more lost savings each

year for plan participants and have been compounded over the years. The

underperformance of these funds as compared to the suggested alternatives increases

these damages exponentially. The underperformance of these funds is represented in the

chart below on a 5-year performance annualized basis as of December 31, 2021:




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                                                                          Plan Fund
 Fund in the       Plan Fund                              Alternative     Underperformance
 Plan              Performance      Alternative Fund      Performance     Per Year
 Dodge & Cox                        American Funds
 Balanced                 10.57%    Balance R6                  11.78%            -1.21%
 Dodge & Cox
 International                      Fidelity
 Stock                    7.19%     International Index         9.78%             -2.59%
 Goldman Sachs
 Small Cap                          Vanguard Small
 Value Instl              8.99%     Cap Index I                 13.50%            -4.51%
 JHancock
 Disciplined
 Value Mid Cap                      Vanguard Mid Cap
 I                        11.52%    Index Institutional         15.88%            -4.36%
 American Funds
 Europacific                        Vanguard Intl Div
 Growth R5E               12.71%    Apprec Idx Adm              13.26%            -0.55%


       72.     As detailed in the chart above, the comparator funds in the chart easily

outperformed the funds in the Plan over five years. A prudent fiduciary should have

been aware of these better preforming lower cost alternative and switched to them at the

beginning of the Class Period. Failure to do so is a clear indication that the Plan lacked

any prudent process whatsoever for monitoring the cost and performance of the funds in

the Plan.

       E.      The Plan’s Recordkeeping and Administrative Costs Were Excessive
               During the Class Period
       73.     Another clear indication of Defendants’ imprudent fee monitoring

process was the excessive recordkeeping and administrative fees Plan participants were

required to pay during the Class Period.

       74.     The term “recordkeeping” describes the suite of administrative services

typically provided to a defined contribution plan by the plan’s “recordkeeper.”




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Recordkeeping and administrative services fees are one and the same and the terms are

used synonymously herein.

       75.     There are two types of essential recordkeeping services provided by all

national recordkeepers for large plans with substantial bargaining power (like the Plan):

bundled services for a flat fee and a la carte services.

       76.     Bundled services are essential services that are charged on a flat-fee

(usually per participant) basis regardless of actual usage. Bundled services typically

include, for example, recordkeeping, audits, accounting, consulting, compliance support,

IRS compliance testing, transaction processing, and participant communications. The

services a large plan chooses to use from the “bundle” do not affect the amount of

money charged by recordkeepers.

       77.     The other type of essential recordkeeping services, referred to as “a la

carte,” provided by all national recordkeepers, often has separate fees based on the

usage of individual participants. These fees are distinct from the bundled arrangement

described above to ensure that one participant is not forced to help another cover the

costs created by the conduct of that individual. A la carte services typically include,

among other things, loan processing, distributions, and brokerage window services (if

offered).

       78.     All national recordkeepers have the capability to provide all of the

aforementioned recordkeeping services at very little cost to all large defined

contribution plans, including those much smaller than the North Memorial Plan.




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       79.      The cost of providing recordkeeping services often depends on the

number of participants in a plan. Plans with large numbers of participants can take

advantage of economies of scale by negotiating a lower per-participant recordkeeping

fee. Because recordkeeping expenses are driven by the number of participants in a plan,

the vast majority of plans are charged on a per-participant basis.

       80.      Recordkeeping expenses can either be paid directly from plan assets, or

indirectly by the plan’s investments in a practice known as revenue sharing (or a

combination of both or by a plan sponsor).


       81.      Revenue sharing is the practice of adding additional non-investment

related fees to the expense ratio of a mutual fund. These additional fees are then paid out

to various service providers—usually unrelated to the fund company managing the fund.

       82.      Revenue sharing payments are payments made by investments within the

plan, typically mutual funds, to the plan’s recordkeeper or to the plan directly, to

compensate for recordkeeping and trustee services that the mutual fund company

otherwise would have to provide.

       83.      Mutual fund returns are reported net of fees, so the money collected from

investors and paid out to other parties is not explicitly reported to investors, it simply

reduces the net investment return of the fund. Because investors do not see the fees

being deducted, the true cost of the fees charged is often overlooked when calculating

the total cost of plan services.




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       84.     Although utilizing a revenue sharing approach is not per se imprudent,

unchecked, it is devastating for Plan participants. “At worst, revenue sharing is a way to

hide fees. Nobody sees the money change hands, and very few understand what the total

investment expense pays for. It’s a way to milk large sums of money out of large plans

by charging a percentage-based fee that never goes down (when plans are ignored or

taken advantage of). In some cases, employers and employees believe the plan is ‘free’

when it is in fact expensive.” Justin Pritchard, “Revenue Sharing and Invisible Fees”

available at http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last visited

June 23, 2022).

       85.     In order to make an informed evaluation as to whether a recordkeeper or

other service provider is receiving no more than a reasonable fee for the services

provided to a plan, a prudent fiduciary must identify all fees, including direct

compensation and revenue sharing being paid to the plan’s recordkeeper.

       86.     In the case of North Memorial’s 401(k) plan, using a combination of a

flat recordkeeping charge paid by participants with revenue sharing used to potentially

cover additional fees resulted in a worst-case scenario for the Plan’s participants because

it saddled Plan participants with above-market recordkeeping fees.

       87.     For example, in 2019 Plan participants paid $181 per year per person in

recordkeeping and administrative fees: $91 per person per year in direct fees plus $90

per person per year in revenue sharing.

       88.     The administrative fees paid by North Memorial 401(k) Plan participants

is more than three times the recent national median. See Lee Barney, DC Plan Fees


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Remain Flat in NEPC Report, Plan Adviser (Aug. 25, 2017),

https://www.planadviser.com/dc-plan-fees-remain-flat-in-nepc-report/.

       89.       Likewise, the administrative fees paid by North Memorial 401(k) Plan

participants is more than three times the recordkeeping fees for similarly sized plans in

the region. See NEPC, 2021 Defined Contribution Plan Trends and Fee Survey Results

(Feb. 2022); NEPC, 2022 Defined Contribution Progress Report.

       90.       To the extent that a plan’s investments pay asset-based revenue sharing

to the recordkeeper, prudent fiduciaries monitor the amount of the payments to ensure

that the recordkeeper’s total compensation from all sources does not exceed reasonable

levels and require that any revenue sharing payments that exceed a reasonable level be

returned to the plan and its participants.

       91.       Had the Plan’s fiduciaries undertook their obligation to monitor the

amount of recordkeeping fees, they would have discovered that the Plan was paying

excessive fees and taken measures to reduce those fees for the benefit of the Plan and its

participants.

                                CLASS ACTION ALLEGATIONS

       92.      Plaintiffs bring this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of herself and the following proposed class

(“Class”):

                All persons, except Defendants and their immediate family
                members, who were participants in or beneficiaries of the Plan,
                at any time between six years before the filing of this lawsuit
                through the date of judgment (the “Class Period”).



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       93.      The members of the Class are so numerous that joinder of all members is

impractical. The 2020 Form 5500 for the 401(k) Plan lists 5,797 participants at the

beginning of the plan year.

       94.       Plaintiffs’ claims are typical of the claims of the members of the Class.

Like other Class members, Plaintiffs participated in the Plan and have suffered injuries

as a result of Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs

consistently with other Class members and managed the Plan as a single entity.

Plaintiffs’ claims and the claims of all Class members arise out of the same conduct,

policies, and practices of Defendants as alleged herein, and all members of the Class

have been similarly affected by Defendants’ wrongful conduct.

       95.       There are questions of law and fact common to the Class, and these

questions predominate over questions affecting only individual Class members.

Common legal and factual questions include, but are not limited to:

             A. Whether Defendants are/were fiduciaries of the Plan;

             B. Whether Defendants breached their fiduciary duties of loyalty and

                 prudence by engaging in the conduct described herein;

             C. The proper form of equitable and injunctive relief; and

             D. The proper measure of monetary relief.

       96.       Plaintiffs will fairly and adequately represent the Class and have retained

counsel experienced and competent in the prosecution of ERISA and class action

litigation. Plaintiffs have no interests antagonistic to those of other members of the




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Class. Plaintiffs are committed to the vigorous prosecution of this action and anticipate

no difficulty in the management of this litigation as a class action.

       97.      This action may be properly certified under Rule 23(b)(1). Class action

status in this action is warranted under Rule 23(b)(1)(A) because prosecution of separate

actions by the members of the Class would create a risk of establishing incompatible

standards of conduct for Defendants. Class action status is also warranted under Rule

23(b)(1)(B) because prosecution of separate actions by the members of the Class would

create a risk of adjudications with respect to individual members of the Class that, as a

practical matter, would be dispositive of the interests of other members not parties to

this action, or that would substantially impair or impede their ability to protect their

interests.

       98.      Additionally, or in the alternative, certification under Rule 23(b)(2) is

warranted because the Defendants have acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive, declaratory, or other

appropriate equitable relief with respect to the Class as a whole.


                                      CLAIM FOR RELIEF

                     Breaches of Fiduciary Duties of Loyalty and Prudence

       99.      Plaintiffs re-allege and incorporate herein by reference all prior allegations

in this Complaint as if fully set forth herein.

       100.     At all relevant times, North Memorial and/or the Board Defendants and its

members during the Class Period were fiduciaries of the Plan within the meaning of




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ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), in that they exercised discretionary

authority or control over the administration and/or management of the Plan or disposition

of the Plan’s assets.

        101.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary

duties imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included

managing the assets of the Plan for the sole and exclusive benefit of the Plan’s

participants and beneficiaries, and acting with the care, skill, diligence, and prudence

under the circumstances that a prudent person acting in a like capacity and familiar with

such matters would use in the conduct of an enterprise of like character and with like

aims.

        102.    Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint. They did not make decisions regarding the Plan’s

investment lineup based solely on the merits of each investment and what was in the best

interest of the Plan’s participants. Instead, Defendants selected and retained investment

options in the Plan despite the high cost of the funds in relation to other comparable

investments. Defendants also failed to investigate the availability of lower-cost share

classes of certain mutual funds in the Plan and to use those lower-cost share classes in the

Plan.

        103.    As a direct and proximate result of the breaches of fiduciary duties alleged

herein, the Plan suffered millions of dollars of losses due to excessive costs and lower net

investment returns.




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       104.    Had Defendants complied with their fiduciary obligations, the Plan would

not have suffered these losses, and the Plan’s participants would have had more money

available to them for their retirement.

       105.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), Defendants are liable to

restore to the Plan all losses caused by their breaches of fiduciary duties and must also

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to

equitable relief and other appropriate relief for Defendants’ breaches as set forth in their

Prayer for Relief.

       106.   Defendants knowingly participated in each breach of the other Defendants,

knowing that such acts were a breach, enabled the other Defendants to commit breaches

by failing to lawfully discharge such Defendant’s own duties, and knew of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the

breaches of its co-fiduciaries under 29 U.S.C. § 1105(a).

                                 PRAYER FOR RELIEF

       Plaintiffs pray that judgment be entered against Defendants on all claims and

requests that the Court awards the following relief:

      107.    A determination that this action may proceed as a class action under Rule

23(b)(1) and Rule 23(b)(2) of the Federal Rules of Civil Procedure;

      108.    Designation of Plaintiffs as Class Representatives and designation of

Plaintiffs’ counsel as Class Counsel;




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      109.    A Declaration that the Defendants, and each of them, have breached their

fiduciary duties under ERISA;

      110.    An Order compelling the Defendants to make good to the Plan all losses to

the Plan resulting from Defendants’ breaches of their fiduciary duties, including losses to

the Plan resulting from imprudent investment of the Plan’s assets, and to restore to the Plan

all profits the Defendants made through use of the Plan’s assets, and to restore to the Plan

all profits which the participants would have made if the Defendants had fulfilled their

fiduciary obligations;

      111.    An order requiring the Company Defendants to disgorge all profits received

from, or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3)

in the form of an accounting for profits, imposition of a constructive trust, or a surcharge

against the Company Defendant as necessary to effectuate said relief, and to prevent the

Company Defendant’s unjust enrichment;

      112.    Actual damages in the amount of any losses the Plan suffered, to be allocated

among the participants’ individual accounts in proportion to the accounts’ losses;

      113.    An order enjoining Defendants from any further violations of their ERISA

fiduciary responsibilities, obligations, and duties;

      114.    Other equitable relief to redress Defendants’ illegal practices and to enforce

the provisions of ERISA as may be appropriate, including appointment of an independent

fiduciary or fiduciaries to run the Plan and removal of Plan’s fiduciaries deemed to have

breached their fiduciary duties;

      115.    An award of pre-judgment interest;


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     116.    An award of costs pursuant to 29 U.S.C. § 1132(g);

     117.    An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the common

fund doctrine; and

     118.    Such other and further relief as the Court deems equitable and just.


Dated: July 15, 2022.                    Baillon Thome Jozwiak & Wanta LLP

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